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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
        Plaintiff,                       )
                                         )
        vs.                              )        No. 4:16 CR 426 CDP-1
                                         )
ISRAEL ANGELES-MONTEZUMA,                )
                                         )
        Defendant.                       )

                                     ORDER

        This matter is before the Court on defendant Israel Angeles-Montezuma’s

Motion to Suppress Intercepted Wire and Electronic Communications. Pursuant

to 28 U.S.C. § 636(b), the motion was referred to United States Magistrate Judge

John M. Bodenhausen. Judge Bodenhausen held a hearing on April 25, 2017, and

thereafter filed a thorough Report and Recommendation regarding the defendant’s

motion. No party has filed any objections to the Judge Bodenhausen’s

recommendations.

        After fully considering the motion and the Report and Recommendation, the

Court will adopt and sustain the thorough reasoning of Magistrate Judge

Bodenhausen set forth in support of his recommended rulings issued on June 22,

2017.

        Accordingly,
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                                      3500



      IT IS HEREBY ORDERED that the Report and Recommendation of the

United States Magistrate Judge [1072] is SUSTAINED, ADOPTED, and

INCORPORATED herein.

      IT IS FURTHER ORDERED that defendant’s Motion to Suppress

Intercepted Wire and Electronic Communications [870] is denied.



                                      ____________________________
                                      CATHERINE D. PERRY
                                      UNITED STATES DISTRICT JUDGE


Dated this 9th day of August, 2017.




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